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UN|TED STATES DlSTRlCT COURT
WESTERN D|STR|CT OF TENNESSEE
IVIE|V|PHIS DlV|SlON

Fiis:o sir __,__.

05 JUL 25 Pii
UN|TED STATES OF AIVIER|CA

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D.C.

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THOMi.S ill GO'ULD

CLERK. U.S. “"TD'CT CDUHT

RONNIE PERK|NS BI‘UCe Gl‘iffey, CJA

142 North Third Street, 3rd Floor
lillemphis, TN 38103

 

JUDGN|ENT |N A CRllV||NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on l\/larch 07, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
Title & Section MJLW_OH§QQ Offense MMH§)
Concluded
18 U.S.C. 922 (g) Fe|on in Possession of a Firearm 08/30/2003 1

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the |V|andatory
Victims Fiestitution Act of 1996

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitutionl costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 8/6/1962 .July 21, 2005
Deft’s U.S. l\/|arsha| No.: 19679-076

Defendant’s l\/lailing Address:

1465 Snowden Avenue
l\/lemphis, TN 38107

J. oANrEL\BnEEN
NiTEo sTATEs DisTFticT Juer

/
Juiyls_, 2005

 

This document entered on the do d
with Rule 55 and/or 32{b) FHCrP on

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oketsheet in compliance

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Case No: 2:05cr20131-01-B Defendant Name: Ftonnie PEF{K|NS Page 2 of 5
lMPRiSON|VlENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 110 Months.

The defendant is remanded to the custody of the United States Niarsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES l\/|ARSHAL
By:

 

Deputy U.S. iViarsha|

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Case No: 21050r20131-01-B Defendant Name: Fionnie PEFiK|NS Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of 3 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised reiease, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply With the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall Wori< regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation oificer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 2:050r20131-01-B Defendant Name: Fionnie PEF{KINS Page 4 of 5

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminai Monetary Penalties sheet of this judgment

ADD|TIONAL COND|TIONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. Participate in a program for the treatment and monitoring of sex offenders which may include the
use of a polygraph, piethysmagraph, evening curfew, and other approved supervision tools as
directed by the probation officer.

2. Participate in substance abuse testing and treatment as directed by the probation officer.

3. Participate in a mental health program and treatment, to include anger management and
domestic violence, as directed by the probation officer.

4. Notify third parties of risks that may be occasioned by the defendant’s criminal record or personal
history or characteristics and permit the probation officer to make such notifications and to confirm
the defendants compliance with such notification requirement as directed by the probation office.
5. Cooperate with DNA collection.

6. Obtain and maintain full time gainful employment as directed by the probation office.

7. Do not possess any dangerous weapon, to include any firearm or ammunition.

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Case No: 2:050r20131-Of-B Defendant Name: Ftonnie PERK|NS Page 5 of 5

CR||VIINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Paymentsl The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Al| of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Tota| Restitution
$100.00

The Specia| Assessment shall be due immediately

FlNE
No fine imposed.

REST|TUT|ON
No Fiestitution was ordered.

: .| l x x F
UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 73 in
case 2:04-CR-20131 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

Bruce 1. Griffey

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U.S. ATTORNEY'S OFFICE
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Honorable .1. Breen
US DISTRICT COURT

